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                                                                              2017 Jan-12 PM 01:31
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA
                 THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

UNITED STATES OF AMERICA, ex rel. )
LEAMON M. FITE, III,              )
                                  )
             Plaintiffs,          )
                                  )
             v.                   )            CIVIL ACTION NUMBER
                                  )               5:13-cv-1626-LSC
APERIAN LABORATORY                )
SOLUTIONS, LLC; EAST ALABAMA )
HEALTH CARE AUTHORITY, d/b/a      )
EAST ALABAMA MEDICAL CENTER; )
SUMMIT DIAGNOSTICS, LLC;          )
COMPASS LABORATORY                )
SERVICES, LLC; TOTAL              )
DIAGNOSTIC SOLUTIONS, LLC;        )
JANNIE LYNN WORK CHAPMAN;         )
AND SHELINDER AGGARWAL,           )
                                  )
             Defendants.          )

  THE UNITED STATES’ NOTICE OF PARTIAL SETTLEMENT WITH
           APERIAN LABORATORY SOLUTIONS, LLC

       The United States of America, through the undersigned counsel, submits

notice to the Court that it has reached a settlement with Aperian Laboratory

Solutions, LLC (“Aperian”) that settles a limited number of the claims at issue in

this action.

       In December 2016, the United States and Aperian executed a Settlement

Agreement that settled certain potential claims related to claims for payment

submitted by Aperian to Medicare and TRICARE from June 13, 2012, through
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September 31, 2014, for services referred to Aperian by providers to whom Aperian

had provided free point-of-care drug testing cups. The specific claims for payment

that are resolved are identified by claim number and encounter date in the Settlement

Agreement, which is attached as Exhibit 1. The Settlement Agreement did not settle

or release any causes of action other than those related to the specific claims for

payment identified by claim number and encounter date in the Settlement

Agreement.

                                       /s/ Don B. Long III
                                       DON B. LONG III
                                       Assistant United States Attorney
                                       1801 4th Avenue North
                                       Birmingham, AL 35203
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                                       Don.long2@usdoj.gov
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                                       Counsel for the United States




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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 12, 2017, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification

of such filing to all counsel of record.



                                  /s/ Don B. Long
                                  DON B. LONG
                                  Assistant United States Attorney
